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                                                   District of Oregon
Reply lo Eugene Office                  Natalie K. Wight, United States Attorney


                                                                                December 5, 2024




       Candice L Fields
       Candice Fields Law, PC
       400 Capitol Mall
       Suite 1620
       Sacramento, CA 95814


                Re:       United States v. William Travis Cutlip Case No. 6:24-CR-358-MC
                          Plea Agreement Letter


       Dear Ms. Fields: .

       1.      Parties/Scope: This plea agreement is between this United States Attorney's Office
       (USAO) and defendant, and thus does not bind any other federal, state, or local prosecuting,
       administrative, or regulatory authority. This agreement does not apply to any charges other than
       those specifically mentioned herein.                                                  •

       2.,    Charges: Defendant agr<:!es to plead guilty to Count One of the Indictment, which
       charges the crime of conspiracy to traffick in firearms, in violation of Title 18, United States
       Code, Sections 933(a)(J), (a)(3).

       3.      Penalties: The maximum sentence is 15 years' imprisonment, a fine of $250,000, a term
       ofsupervised release from 5 years to life, and a $100 fee assessment. Defendant agrees to pay
       the fee assessment by the time of entry of guilty plea or explain to the Court why this cannot be
       done. Defendant further stipulates to the forfeiture of the assets as set forth below.

      4.       Dismissal/No Prosecution: The USAO will move at the time of sentencing to dismiss
      any rei11aining counts against defendant. The USAO agrees not to brihg additional charges
      against defendant in the District of Oregon arising out of this investigation, known to the USAO
      at the time of tl1is agreement.
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5.       Waiver of Discovery: As a material term of this offer and agreement, defendant
expressly accepts the USAO's offer to make available the evidence gathered in the investigation        (
of this matter for on-site inspection in full satisfaction of the government's discovery obligations
in this case. Defendant knowingly, intelligently, and voluntarily waives its rights to further
production of evidence or information from the government, even though it may be entitled to
such production pursuant to the Federal Rules of Criminal Procedure, the discovery orders of the
Court, and any prior demands for discovery.

6.      Elements and Factual Basis: In order for defendant to be found guilty of Count One of
the Indictment, the government must prove the following elements beyond a reasonable doubt:

       First, the defendant and others agreed to a common and unlawful plan to knowingly ship,
       transport, transfer, caused to be transported or disposed of a firearm to another person;

       Second, that the defendant knew the unlawful purpose of the agreement and joined in it
       willfully, that is, with the intent to further the unlawful purpose;

       Third, the shipping, transporting, transferring, causing to be transported or disposition of
       the firearm was in or otherwise affecting interstate commerce; and

       Fourth, the defendant knew or had reasonable cause to believe that the use, carrying or
       possession of the firearm by the other person/recipient would constitute a felony.

        Defendant admits the elements of the offense alleged in Count One of the Indictment and
agrees the following facts are true, could be proved beyond a reasonable doubt, and are sufficient
to support a plea of guilty:

       On or about December 19, 2023, in the District of Oregon, Mr. Cutlip and his co-
conspirators broke into Adult Victim 1's underground vault in Bandon, Oregon and stole
approximately $1,000,000 in cash, as well as gold coins and bullion, silver coins, and
firearms.

        Following the initial burglary, Mr. Cutlip informed another co-conspirator that the
vault remained open. The co-conspirator returned to the vault and stole approximately 40
firearms and transported some of the stolen firearms to Mr. Cutlip's residence. Mr. Cutlip
provided the co-conspirator with cash in exchange for the fireanns and to keep quiet about
his involvement in the burglary.

        Sometime before January 31, 2024, several of the stolen firearms, which had been
stored at Mr. Cutlip's residence, were transferred to.other individuals, including three
frreanns that were eventually recovered following law enforcement activity in California.
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        Mr. Cutlip admits that the transporting, transferring, and disposition of the firearms was .
in or otherwise affected interstate commerce.

7. ·    Sentencing Factors: The parties agree that the Court must first determine the applicable
advisory guideline range, then determine a reasonable sentence considering that range and the
factors listed in 18 U.S.C. § 3553(a). Where the parties agree that sentencing factors apply, such
agreement constitutes sufficient proof to satisfy the applicable evidentiary standard.

8.      Relevant Conduct: The parties agree that the following guideline calculations presently
apply in this case:                                                                             '

       Base offense level [USSG § 2K2.l(a)(6)]                                      14
       Offense involved25-99 firearms [USSG § 2K2.l(b)(l)(C)]                       +6
       Stolen'frreanns [USSG § 2K2.l(b)(4)]                                         +2
       Recipient Adjustment [USSG § 2K2.l(b)(5)(C)]                                 +5
       Acceptance of Responsibility                                                 -3
       Variance under 18 U.S.C. § 3553                                              -2
       Adjusted offense level                                                       22

9.      Acceptance of Responsibility: Defendant must demonstrate to the Court that defendant
fully admits and accepts responsibility under USSG § 3El .1 for defendant's unlawful conduct in
this case. If defendant does so, the USAO will recommend a three-level reduction in defendant's
offense level (two levels if defendant's offense level is less than sixteen). The USAO reserves
the right to change this recommendation if defendant, between plea and sentencing, commits any
criminal offense, obstructs or attempts to obstruct justice as explained in USSG § 3Cl.1, or acts
inconsistently with acceptance of responsibility as explained in USSG § 3El.l.

10.     Sentencing Recommendation: The USAO will recommend the low end of the·
applicable guideline range as long as defendant demonstrates an acceptance ofresponsibility as
explained, above.                               •

11.     Additional Departures, Adjustments, or Variances: The USAO agrees not to seek any
upward departures, adjustments, or variances to the advisory sentencing guideline range, or to
seek a sentence in excess of that range, except as specified in this agreement. Defendant agrees
not to seek any downward departures, adjustments, or variances to the advisory sentencing
guideline range under the sentencing guidelines provisions. Defendant may argue for a variance
under 18 U.S.C. § 3553 and seek any sentence he deems appropriate. ,

12.   Abandonment of Firearms: By signing this agreement, defendant hereby voluntarily
abandons all right, title, and interest to any firearms seized as part of this case.

13.    Waiver of Appeal/Post-Conviction Relief¾ Defendant knowingly and voluntarily
waives the right to appeal from any aspect of the conviction and sentence on any grounds, except
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for a claim that: (1) the sentence imposed exceeds the statutory maximum, or (2) the Court
arrives at an advisory sentencing guideline range by applying an upward departure under the
provisions of Guidelines Chapters 4 or SK, or (3) the Court exercises its discretion under 18
U.S.C. § 3553(a) to impose a sentence which exceeds the advisory guideline sentencing range as
determined by the Court. Should defendant seek an appeal, despite this waiver, theUSAO may
take any position on any issue on appeal. Defendant also waives the right to file any collateral
attack, including a motion under 28 U.S.C. § 2255, challenging any aspect of the conviction or
sentence on any grounds, except on grounds of ineffective assistance of counsel, and except as
provided in Fed. R. Crim. P. 33 and 18 U.S.C. § 3582(c)(2). In the event that defendant's
conviction under this agreement is vacated, the government may reinstate and/or file any other
charges, and may take any position at a resentencing hearing, notwithstanding any other
provision in this agreement.

14.      Court Not Bound: The Court is not bound by the recommendations of the parties or of
the presentence report (PSR) writer. Because this agreement is made under Rule l l(c)(l}(B) of
the Federal Rules of Criminal Procedure, defendant may not withdraw any guilty plea or rescind
this plea agreement if the Court does not follow the agreements or recommendations of the
parties.

15.     Full Disclosure/Reservation of Rights: The USAO will fully inform the PSR writer and
the Court of the facts and law related to defendant's case: Except as set forth in this agreement,
the parties reserve all other rights to make sentencing recommendations and to respond to
motions and arguments by the opposition.

16.     Breach of Plea Agreement: If defendant breaches the terms of this agreement, or
commits any n·ew criminal offenses between signing this agreement and sentencing, the USAO is
relieved of its obligations under this agreement, but defendant may not withdraw any guilty plea.

         If defendant believes that the government has breached the plea agreement, defendant
must raise any such claim before the district court, either prior to or at sentencing. If defendant
fails to raise a breach claim in district court, defendant has waived any such claim and is
precluded from raising a breach claim for the first time on appeal.

17.     Forfeiture Terms:

         A.     Assets and Authority: By signing this agreement, defendant knowingly and
voluntarily forfeits all right, title, and interest in and to all assets which are subject to forfeiture
pursuant to 18 U.S.C. § 2253, including his cell phone, which defendant admits was used to
facilitate defendant's criminal activity as set forth in the information.

        B.     Agreement to Civil Forfeiture: Defendant agrees not to file a claim or withdraw
any claim already filed to any of the listed property in any civil proceeding, administrative or •
judicial, which may be initiated. Defendant further waives the right to notice of any forfeiture
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proceeding involving this property and agrees not to assist others in filing a claim in any
forfeiture proceeding.                                                ••

        C.       No Alteration or Satisfaction: Defendant knowingly and voluntarily waives the
right to a jury trial on the forfeiture of assets. Defendant knowingly and voluntarily waives all
constitutional, legal and equitable defenses to the forfeiture of these assets, including any claim
or defense under the Eighth Amendment to the United States Constitution, and any rights under
Rule 32.2 of the Federal Rules of Criminal Procedure. Defendant further agrees forfeiture of
defendant's assets shall not be treated as satisfaction of any fine, restitution, cost of
imprisonment, or any other penalty this Court may impose upon defendant in addition to
forfeiture.

         D.     Title Assistance: Defendant agrees to fully assist the USAO in the forfeiture of
the listed assets and to take whatever steps are necessary to pass clear title to the United States,
including but not limited to surrender of title and execution of any documents necessary to
transfer defendant's interest in any of the above property to the United States, and assist in
bringing any assets located outside the United States within the jurisdiction of the United States,
and taking whatever steps are necessary to ensure that assets subject to forfeiture are not sold,
disbursed, wasted, hidden, or otherwise made unavailable for forfeiture.

        E.      Assets Not Identified: The USAO reserves its right to proceed against any
remaining assets not identified either in this agreement or in the civil actions which are being
resolved along with this plea of guilty, including any property in which defendant has any
interest or control, if said assets, real or personal, tangible or intangible, are subject to forfeiture.

       F.      Final Order of Forfeiture: Defendant agrees not to contest entry of a Final
Order of Forfeiture reflec_ting these forfeiture terms at the conclusion of the criminal case.

18.      Memorialization of Agreement: No promises, agreements, or conditions other than
those set forth in this agreement will be effective unless memorialized in writing and signed by
all parties listed below or confirmed on the record before the Court. If defendant accepts this
offer, please sign and attach the original of this letter to the Petition to Enter Plea.

19.    Deadline: This plea offer expires if not accepted by December 6, 2024, at 5:00pm.

                                                         Sincerely,

                                                       · NATALIE K. WIGHT
                                                         United States Attorney

                                                         sf Gavin W. Bruce
                                                         GAVIN W. BRUCE
                                                         Assistant United States Attorney
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                                             I

Re: William Travis Cutlip Plea Agreem~nt Letter
P•e6                                         l
Dec~mber 5, 2024

         ,I,have carefully reviewed every p~ of this agreement with my attorney~ I understnnd
 arid :voluntarily agree to its terms. I e~pre~ly waive my rights to appe.a.1 as outlined in this.
 agreement I wish to plead guilty because~ in fact. I am guilty.      •
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  ltltl z_<./-                                            (
 Date                                                   \VILLL.\M
                                                        Deiendant


        I represent the defendant a.s; legal c9unsel. I ha\·e carefully reviewed e,·el')' part of this
  agreement with d.efendant. To mv knowledge, defendant's decisions to make this agreement and

  •: :;~:~~• infom~ Md ~oluo~;oes.                      ~~
  Dute                                                  CANDICE L. FIELDS
                                                        Attorney for Defendant
